           Case 1:12-cv-00033-RP Document 435 Filed 12/06/18 Page 1 of 2




                                 ABSTRACT OF JUDGMENT
                                                  NOTICE

         Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this
abstract in the manner in which a notice of tax lien would be filed under paragraphs (1) and (2) of 26 U.S.C.
6323(f), creates a lien on all real property of the defendant(s) and has priority over all other liens or
encumbrances which are perfected later in time. The lien created by this section is effective, unless
satisfied, for a period of 20 years and may be renewed by filing a notice of renewal. If such notice of
renewal is filed before the expiration ofthe 20 year period to prevent the expiration of the lien and the court
approves the renewal, the lien shall relate back to the date the judgment is filed.


   Names and Addresses of Parties against               Names of Parties in whose favor Judgments
    whom Judgments have been obtained                              have been obtained
 Brian Pardo                                            UNITED STATES SECURITIES
 908 Arlington Drive                                    AND EXCHANGE COMMISSION
 Woodway, TX 76712


   Amount of Judgment                Names of Creditors' Attorneys                Docket Information

 Civil Penalty:                  John P. Tavana                                Civil Action Number:
 $3,561,500.00                   Assistant Chief Litigation Counsel            1:1 2-cv-0003 3 -RP-AWA
                                 UNITED STATES SECURITIES AND
                                 EXCHANGE COMMISSION                           Judgment Entry Date:
 Plus Post Judgment              100 F Street, NE, Mail Stop 5628              10/1/2018
 Interest                        Washington, D.C. 20549
                                                                               Docket Number: 433



    UNITED STATES OF AMERICA, CLERK'S OFFICE, U.S. DISTRICT COURT FOR THE

                       Western                   DISTRICT OF              Texas

 I CERTIFY that the foregoing is a correct Abstract    of the Judgment entered or registered by this Court.
                                  DEC 6 2018
                      (DATE) ______________________________,2018

                  ByYW                            1'        üs       5L?             ,   Clerk.
             Case 1:12-cv-00033-RP Document 435 Filed 12/06/18 Page 2 of 2




                                    ABSTRACT OF JUDGMENT
                                                   NOTICE

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abstract in the manner in which a notice of tax lien would be filed under paragraphs (1) and (2) of 26 U.S.C.
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approves the renewal, the lien shall relate back to the date the judgment is filed.


      Names and Addresses of Parties against             Names of Parties in whose favor Judgments
       whom Judgments have been obtained                            have been obtained
 Robert Scott Peden                                      UNITED STATES SECURITIES
 3728 Willow Bend Circle                                 AND EXCHANGE COMMISSION
 Waco, TX 76708


      Amount of Judgment              Names of Creditors' Attorneys                Docket Information

 Civil Penalty:                     John P. Tavana                              Civil Action Number:
                                    Assistant Chief Litigation Counsel          1:1 2-cv-0003 3 -RP-AWA
 $2,006,500.00
                                    UNITED STATES SECURITIES AND
                                    EXCHANGE COMMISSION                         Judgment Entry Date:
 Plus Post Judgment                 100 F Street, NE, Mail Stop 5628            10/1/2018
 Interest                           Washington, D.C. 20549
                                                                                Docket Number: 433



      UNITED STATES OF AMERICA, CLERK'S OFFICE, U.S. DISTRICT COURT FOR THE

                          Western                DISTRICT OF               Texas

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                                     DEC 6 2018
                         (DATE) ______________________________,2018

                    By   TC&X\fl4               flLELQ                               ,   Clerk.
